           Case 5:05-cr-00734-RMW         Document 90   Filed 08/02/06   Page 1 of 1



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 8
                        IN THE UNITED STATES DISTRICT COURT
 9
                      FOR THE NORTHERN DISTRICT OF CALIFORNIA
10
                                        SAN JOSE DIVISION
11

12
                                                              *E-FILED - 8/2/06*

13
     UNITED STATES OF AMERICA,                      Case No. CR 05-00734-RMW
14
                           Plaintiff,
15

16         v.                                    ORDER TO CONTINUE SENTENCING
17
     STEPHEN BROW N,
18
                     Defendant.
19
     _____________________________/
20

21         Upon stipulation of the parties and good cause appearing therefore:
22         IT IS HEREBY ORDERED that the sentencing hearing now set for August
23   7, 2006 is vacated and reset to October 10, 2006 at 9:00 a.m.
24

25   Dated: 8/2/06                                  /s/ Ronald M. Whyte
                                                   ____________________________
                                                   RONALD M. W HYTE
26                                                 United States District Judge
27

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